                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENVILLE

JASON WARE,                                        )
                                                   )
               Petitioner,                         )
                                                   )
v.                                                 )       Nos.    2:09-CR-31-RLJ-MCLC-4
                                                   )               2:16-CV-53-RLJ
UNITED STATES OF AMERICA,                          )
                                                   )
               Respondent.                         )

                                     JUDGMENT ORDER

        For the reasons expressed in the accompanying memorandum opinion, it is ORDERED

and ADJUDGED that Petitioner’s request to stay proceedings pending Beckles [Doc. 1360] is

DENIED.       His § 2255 motion [Doc. 1328] is DENIED and DISMISSED WITH

PREJUDICE. If Petitioner files a notice of appeal from this judgment, such notice of appeal

will be treated as an application for a certificate of appealability, which is DENIED pursuant to

28 U.S.C. § 2253(c)(2) and Fed. R. App. P. 22(b) because he has failed to make a substantial

showing of the denial of a federal constitutional right. The Court CERTIFIES pursuant to 28

U.S.C. § 1915(a)(3) and Fed. R. App. P. 24 that any such appeal from this judgment would be

frivolous and not taken in good faith.

               IT IS SO ORDERED.

                                                            ENTER:




                                                             s/ Leon Jordan
                                                              United States District Judge




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